Case 6:21-cv-00694-CEM-DCI Document 1 Filed 04/20/21 Page 1 of 28 PagelD 1

UNITED STATES DISTRICT COURT ©
MIDDLE DISTRICT OF FLORIDA

-CASENO, &.2\-w-ST4-CEMm- OCT

sys
e

-SECURITIES AND EXCHANGE COMMISSION,

8

SEeStG Feo:

warog 40 13k

Plaintiff,
Vs.

 

guy INO |

HARBOR CITY CAPITAL CORP.,

HARBOR CITY VENTURES, LLC,
HCCF-1 LLC,

HCCF-2 LLC,
HCCF-3 LLC,

HCCF-4 LLC, UNDER SEAL
HCCF-5 LLC,

HARBOR CITY DIGITAL VENTURES, INC.,
HCC MEDIA FUNDING, LLC,

JONATHAN P. MARONEY,

iy

S
323
ct
i
oo
oO
=
a
Pe

=
=.
x»
=O
a
z pO
Cc
=
=
oi
a

wared 14 °C

Defendants,

And

CELTIC ENTERPRISES, LLC,
TONYA L. MARONEY,

Relief Defendants.
/

COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF AND DEMAND
FOR JURY TRIAL

Plaintiff Securities and Exchange Commission (“Commission”) alleges:
I. INTRODUCTION

1. This an emergency action to stop an ongoing, fraudulent Ponzi-

scheme victimizing hundreds of investors across the United States. From at

qa
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 2 of 28 PagelD 2

least May 2015 and continuing through the present, Harbor City Capital Corp.
(“Harbor City”) and its founder and Chief Executive Officer, Jonathan P.
Maroney, have raised more than $17.1 million through a series of unregistered
fraudulent securities offerings in several entities formed and controlled: by
Harbor City and Maroney.

2. The offerings were in a company called Harbor City Ventures, LLC
(“HC Ventures”), and five “special purpose” entities, HCCF-1 LLC, HCCF-2
LLC, HCCF-3 LLC, HCCF-4 LLC and HCCF-5 LLC (collectively referred to as
the “HC SPEs”). Harbor City served as the Manager of the HCCF-1 through
HCCF-4 offerings, and another Maroney created and controlled company,
Harbor City Digital Ventures, Inc. (“HC Digital’), served as their “Operator.”
HCC Media Funding, LLC (“HCC Media”), controlled by Maroney, serves as
both the Manager and Operator of the ongoing HCCF-5 offering.

3. The securities sold were in form of either promissory notes,
funding agreements, or “high yield, secured bonds” (in the case of the HC
SPEs), promising returns ranging from 1% to 5% per month. The purported
purpose of the offerings was to provide bridge funding for Harbor City’s and
its related companies’ customer lead generation sales businesses. Investors
were solicited primarily through Harbor City’s website and a series of on-line

marketing videos featuring Maroney posted on YouTube.

2
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 3 of 28 PagelD 3

4. Defendants Harbor City, HC Ventures, the HC SPEs, HC Digital,
HCC Media, and Maroney, orally and in offering materials, made material
misrepresentations and omissions to. investors and engaged in a scheme to
defraud and a course of conduct designed to deceive investors. Specifically,
despite statements made by Harbor City, HC Ventures, the HC SPEs, HC
Digital, and HCC Media in the offering materials that investor funds would be
used to finance Harbor City’s customer lead generation campaigns, Defendants
misappropriated approximately $4.48 million in investor funds, which was
diverted for Defendant Maroney’s personal use.

5. Of the millions in investor funds that Defendant Maroney diverted
for his personal use, Relief Defendants Celtic Enterprises (“Celtic”) and Tonya
Maroney, received more than $1 million in ill-gotten gains for no legitimate
reason.

6. Defendants also misused approximately $1.4 million of investor
money by making payments to other entities unrelated to the supposed purpose
of the offerings. Moreover, at least $6.5 million of the returns distributed to
investors were in reality Ponzi-like payments funded by other investors.

7. In addition, Defendants made other false claims and omissions to

investors regarding, among other things, Harbor City’s purported UCC lien
Case 6:21-cv-00694-CEM-DCI Document 1 Filed 04/20/21 Page 4 of 28 PagelD 4

filings and its “Standby Line of Credit,” and Maroney’s prior disciplinary
history with Alabama securities regulators. a

8. Through their conduct, Defendants have violated Sections 5(a), 5(c)
and 17(a) of the Securities Act of 1933 ("Securities Act’ ) and Section 10(b) and
Rule 10b-5 of the Securities Exchange Act of 1934 (“Exchange Act”). Unless
restrained and enjoined, Defendants are reasonably likely to engage in future
violations of the federal securities laws.
II. DEFENDANTS AND RELIEF DEFENDANTS

A. Defendants

9. Harbor City is a Nevada corporation formed in December 2014 with
its principal place of business in Melbourne, Florida. Harbor City and its
securities have never been registered with the Commission in any capacity.
Harbor City filed a Form D Notice of Exempt Offering of Securities with the
Commission on January 29, 2019, seeking to raise $1,000,000 in debt securities
with a $50,000 minimum investment amount purportedly under a Rule 506(c)
exemption.

10. HC Ventures is a Nevada limited liability company established in
2014 with its principal place of business in Melbourne, Florida. HC Ventures and

its securities have never been registered with the Commission in any capacity.
Case 6:21-cv-00694-CEM-DCI Document 1 Filed 04/20/21 Page 5 of 28 PagelD 5

1. HCCF-1 is a Nevada limited liability company formed in August
2018 with its principal ‘place of business in Melbourne, Florida. HCCF-1 is
wholly-owned and managed by Harbor City. HCCF-1 and its securities have
never been registered with the Commission in any capacity.

12. HCCF-2is a Nevada limited liability company formed in April 2019
with its principal place of business in Melbourne, Florida. HCCF-2 is wholly-
owned and managed by Harbor City. HCCF-2 and its securities have never
been registered with the Commission in any capacity.

13. HCCF-3 is a Wyoming limited liability company formed in
September 2019 with its principal place of business in Melbourne, Florida.
HCCF-3 is wholly-owned and managed by Harbor City. HCCF-3 and its
securities have never been registered with the Commission in any capacity.

14. HCCF-4 is a Wyoming limited liability company formed in
November 2019 with principal place of business in Melbourne, Florida. HCCF-
4 is wholly-owned and managed by Harbor City. HCCF-4 and its securities
have never been registered with the Commission in any capacity.

15. HCCF-5 is a Wyoming limited liability company formed in July
2020 with its principal place of business in Melbourne, Florida. HCCF-5 is
wholly-owned and managed by Harbor City. HCCF-5 and its securities have

never been registered with the Commission in any capacity.

5
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 6 of 28 PagelD 6

16. HC Digital is'a Nevada corporation established in 2017 with its
principal place of business in Melbourne, Florida. HC Digital is the “Operator”
of the HCCF-1, HCCF-2, HCCF-3 and HCCF-4 offerings.

7. HCC Media is a ‘a Wyoming limited liability company established in
2020 with its principal place of business in Melbourne, Florida. HCC Media is
both the Manager and “Operator” of the HCCF-5 offering.

18. Maroney, 50, resides in Melbourne, Florida. Maroney is the
founder, Chief Executive Officer, and President of Harbor City, and the
President of HC Digital. He is also the sole Manager of HC Ventures, HCC
Media, and each of the HC SPEs. In June 2020, the Alabama Securities
Commission issued a cease and desist order prohibiting Maroney, Harbor City
and HC Digital from offering or selling securities in the state.

B. Relief Defendants

19. Celtic is a Wyoming limited liability company with its principal
place of business listed in Melbourne, Florida. Maroney is the Manager of
Celtic. Without any legitimate basis, Celtic received at least $617,000 in ill-
gotten gains emanating from the Defendants’ securities fraud.

20. Tonya L. Maroney, 51, resides in Melbourne, Florida and is

married to Jonathan P. Maroney. Without any legitimate basis, Tonya Maroney
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 7 of 28 PagelD 7

received at least $452,000 in ill-gotten gains emanating from the Defendants’
securities fraud.
‘II. JURISDICTION AND VENUE

21. The Court has jurisdiction over this action pursuant to Sections
20(b), 20(d), and 22(a) of the Securities Act, 15 U.S.C. §§ 77t(b), 77t(d), and 77v(a);
and Sections 21(d), 21(e), and 27 of the Exchange Act, 15 U.S.C. §§ 78u(d), 78u(e),
and 78aa.

22. The Court has personal jurisdiction over the Defendants and Relief
Defendants, and venue is proper in the Middle District of Florida, because many
of the Defendants’ acts and transactions constituting violations of the Securities
Act and the Exchange Act occurred in the Middle District of Florida. In
addition, the principal place of business of all the entity Defendants and Relief
Defendant Celtic was in the Middle District of Florida, and during the relevant
time period, Jonathan and Tonya Maroney resided in the Middle District of
Florida.

23. In connection with the conduct alleged in this Complaint, the
Defendants, directly and indirectly, singly or in concert with others, have made
use of the means or instrumentalities of interstate commerce, the means or
instruments of transportation and communication in interstate commerce, and

the mails.
Case 6:21-cv-00694-CEM-DCI Document 1 Filed 04/20/21 Page 8 of 28 PagelD 8

 

“IV. - THE DEFENDANTS" FRAUD
A. Defendants’ Unregistered Sectirities Offerings

24. From at least 2015, continuing through the present, Harbor City,
HC Ventures, the HC SPEs, HC Digital, and HCC Media, through Maroney,
have raised more than $17.1 million from more than 100 investors nationwide
through a series of unregistered fraudulent securities offerings. Initially,
starting in about May 2015, the securities sold were in form of either promissory
notes or agreements entitled “Unsecured Promissory Notes” and “Fixed-Rate
Funding Agreements” issued by HC Ventures, an affiliated entity Maroney
controlled.

25. These earlier notes and agreements offered investors interest rates
varying from 2% to 5% per month for terms ranging from 12 to 36 months.
Investors in those instruments were promised a full return of their investment
principal upon maturity.

26. Beginning in late 2018, the securities sold took the form of “high
yield, secured bonds” issued by the five “special purpose” entities formed and
controlled by Maroney — first, through HCCF-1, followed by HCCF-2, HCCF-3,
HCCF-4, and most recently HCCF-5. The so-called high yield, secured bonds
issued in the HC SPEs offerings promised interest rates that varied from 1% to
1.5% per month. The bonds are offered in 1, 2, 3 or 5 year terms, with a

8
Case 6:21-cv-00694-CEM-DCI Document 1 Filed 04/20/21 Page 9 of 28 PagelD 9

guaranteed return of investment principal at maturity. Harbor City serves as
the Manager of the HCCF-1 through HCCF-4 offerings, and another Maroney
controlled company, HC Digital, serves as their “Operator.” HCC Media, also |
controlled by Maroney, serves as both the Manager and Operator of the HICCE.
5 offering.

27. The following chart lists the date, term and rate of return for each

of the Harbor City offerings and the securities issued:

 

 

 

 

 

 

 

Issuer Offering Bond Monthly | Annual
Start Date Terms Returns | Returns
1 Year
HC Ventures May 1, 2015 2 Year 2% to5% | 24% to 60%
3 Year
HCCF-1 December 18, 2018 2 Year 1.5% 18%
HCCF-2 January 28, 2019 1 Year 1.5% 18%
HCCF-3 July 1, 2019 1 Year 1.5% 18%
HCCF-4 November 24, 2019 1 Year 1% 12%
1 Year 0.8333% 10%
HCCF-5 July 24, 2020 3 Year 1.0% 12%
5 Year 1.167% 14%

 

 

 

 

 

 

 

28. Harbor City, the other Harbor City related companies, and
Maroney represented to investors that proceeds from the offerings will be used
to provide “bridge funding” for Harbor City’s business of generating online
customer lead campaigns for other businesses. A customer lead generation
campaign is essentially the process of capturing online interest in a service or

product for the purpose of developing sales leads. Harbor City claims that

9
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 10 of 28 PagelD 10

companies contract with it in advance for an agreed upon quantity of new
customer leads for their business, on a cost-per-lead basis. HC Ventures was
the entity responsible for conducting the lead generation campaigns for the
eailier offering involving the promissory notes and funding agreements. -As for
the HC SPEs bond offerings, the proceeds were to be “loaned” to either HC
Digital or HCC Media, which were the entities charged with managing the SPEs
and administering the internet lead generation campaigns.

29. According to the offering documents, the leads generated from the
campaigns were to be sold at a substantial profit to Harbor City’s “pipeline” of
business clients within the “$200 Billion internet advertising sector.” From the
resulting profits, investors were supposed to receive monthly interest payments
followed by the return of their principal when their notes or bonds mature.
With each new offering, Harbor City touted its plan to “expand into as many as
100 online vertical industries.” For example, according to HCCF-5’s offering
documents, the proceeds from that offering were to be used to “fund the ramp-
up in lead production needed to service the current pipeline” of business clients.

30. Defendants solicited and raised money from investors primarily
through Harbor City’s website and a series of on-line marketing videos
featuring Maroney posted both on the company’s website and on YouTube. In

the on-line videos, Defendant Maroney gives prospective investors a detailed

10
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 11 of 28 PagelD 11

description of the investment opportunity, For example, he reiterates in these
videos that investor money will be used to fund Harbor City’s lead generation
business and he tells prospects about the guaranteed returns they could expect
to receive. :

31. Ina video posted on Harbor City’s website, Defendant Maroney
describes the Harbor City bond offering as “safe as a CD” and equates it to
“going down to your local bank and purchasing a certificate of deposit.” In one
of the YouTube videos, labeled “Harbor City Capital Corp. - Safe Investments,”
he shares that “one of the biggest questions” Harbor City receives from
prospective investors is “how do I know my money is safe?” In the video,
Defendant Maroney explains that the Harbor City “bonds are 100% secured by
a cash asset-backed instrument issued by a major top-tiered bank, which
ensures return of principal.” These representations were false.

32. Besides the company’s website and marketing videos, Defendants
also marketed their high yield bonds through pop-up advertisements on social
media platforms like Facebook. One investor recalls a Harbor City
advertisement popping up on his Facebook feed advertising guaranteed annual
returns of up to 18%. That investor had not heard of Maroney or Harbor City
before then. Maroney also solicited some investors directly. He explained to at

least one prospective investor that Harbor City bought the leads for $1.00 each

11
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 12 of 28 PagelD 12

and resold them to businesses for $5.00 apiece. He told the same investor that
Harbor City could “guarantee double digit returns” on his investment using
that strategy.

33. The offering materials Defendants distributed “to investors
included either a “confidential information memoranda” or “private placement
memoranda,” a business plan, a subscription agreement, and an “accredited
investor verification” letter. The offering memoranda and other marketing
materials used in all of the various offerings were substantially similar.

34. Defendant Maroney maintained bank accounts for Defendant
Harbor City. He also had separate bank accounts for Defendants HC Ventures,
HC Digital, HCCF-1, HCCF-2, HCCF-3 and HCCF-4. However, the investor
funds initially deposited into those accounts were later transferred into Harbor
City’s accounts and commingled along with funds from the other offerings.
Maroney was the sole signatory on all of the Harbor City and other Harbor City
related companies bank accounts.

35. After sending in their investments, Defendant Maroney would
often send email updates to investors about Harbor City and the Harbor City
related companies. In one email Maroney sent to investors in January 2018,
Maroney falsely claimed that there was such “a MASSIVE pipeline of standing

orders for leads” from companies seeking Harbor City’s services and expertise

12
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 13 of 28 PagelD 13

‘that Harbor City does not “expect to have enough capital to serve ALL of that
demand.”

36. The promissory notes, funding agreements, and bonds offered and
sold by the proposed defendants are securities. First, the Defendants sold these
investments to raise money to be pooled and used to fund their customer lead
generation business. In turn, investors purchased the notes, agreements, and
bonds from Defendant Harbor City and its related companies in order to earna
profit in the form of significant interest payments. Second, these investments,
they were offered or sold to a broad segment of the public. Specifically, the
Defendants sold their investments to more than 100 investors residing in
numerous states, and offered them to many more investors. Third, Harbor
City’s investors invested in the offerings- which the company marketed as
“investments” - with expectations of receiving interest payments generated
from the company using their money to fund its business activities. Investors
had no responsibility in the business of generating customer leads, and were
entirely passive. Instead, they relied solely on Harbor City and the other Harbor
City related companies, and their management, to generate profits.

37. The promissory notes, funding agreements, and bonds issued in

this matter also constitute investment contracts and are therefore securities.

13
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 14 of 28 PagelD 14

B. Defendants’ Misuse and Misappropriation of Investor Funds

38. Defendants Harbor City, HC Ventures, the HC SPEs, HC Digital,
HCC Media, and Maroney represented to investors and prospective investors
orally and in offering documents that the proceeds raised from the offerings
would be used to fund Harbor City’s and the other Harbor City related
companies’ customer lead generation campaigns. In return, investors were told
that they would receive monthly interest payments from the profits on the leads
generated, as well as a return of their principal when their notes, agreements,
or bonds matured. The offering documents distributed to investors also
provided that “management will not have any discretion as to any other use of
the proceeds” nor “receive any salary.”

39. Contrary to the representations made to investors, Defendants
Harbor City, HC Ventures, the HC SPEs, HC Digital, HCC Media, and Maroney
were not engaged in a significant lead generation business and only used a
small portion of money raised from investors to fund their business. Instead,
from January 2017 to February 2021, Harbor City generated no significant
revenues from its customer lead generation businesses or from any other
venture. Significantly, of the $17.1 million in investor funds deposited into the
Harbor City related bank accounts, at most only about $449,000 may have gone
to business expenses.

14
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 15 of 28 PagelD 15

~ 40. Instead, Maroney used investor money to enrich himself and ‘his
family, and to perpetuate the Ponzi scheme by. making payments of fictitious
returns to existing investors using other investor funds. Specifically, of the $17.1
‘million raised from Harbor City’s investors, Maroney misappropriated more
than $4.88 million for his own personal use. Some of the things he spent investor
money on include:
e $1.35 million to pay his credit card bills,
e $827,000 towards the purchase and maintenance of his waterfront
home,
e $808,000 towards housing and renovation-related expenses,
e $90,000 to purchase a Mercedes Benz,
e $265,000 in cash or ATM withdrawals,
e $394,000 deposited into a joint bank account with his wife, Tonya
Maroney, plus $58,000 towards her credit cards, and
e $617,000 transferred to Relief Defendant Celtic, a nominee entity he
controls.
41. In addition, Maroney misused approximately $1.4 million of
investor money by making payments to other entities unrelated to the supposed
purpose of the offerings, including money sent to a company involved in the

container, storage and shipping industry. Thus, about $6 million of investors’

15
Case 6:21-cv-00694-CEM-DCI Document 1 Filed 04/20/21 Page 16 of 28 PagelD 16

money was misappropriated and misused by Defendant Maroney.

42. Moreover, Defendants Harbor City, HC Ventures, the HC SPEs,
HC Digital, and HCC Media, through Defendant Maroney, were operating a
Ponzi scheme. Since Defendants promised investors high rates of return but --
generated no significant revenues from its touted business model, Maroney
needed new investor money to make interest payments to existing investors.
Since 2017, Maroney used at least $6.5 million of investor funds to make
monthly interest payments and other payouts to investors in a classic Ponzi
scheme fashion. As noted previously, Maroney was the sole signatory on all of

the entity Defendants’ bank accounts.

Cc. Defendants’ Material Omissions and Misrepresentations to Investors
43. In addition, to the misrepresentations detailed above, Defendants
Harbor City, HC Ventures, the HC SPEs, HC Digital, HCC Media, and Maroney
also told investors that the funding for their customer lead generation business
is “provided as a line of credit that is guaranteed by a UCC-1 filed lien” using
Defendants Harbor City’s, HC Digital’s and HCC Media’s accounts receivable
and purchase orders as collateral. They claimed that with this “secure position
with guaranteed repayment,” they are able to mitigate the risk of loss to its

investors.

16
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 17 of 28 PagelD 17

44. investors in the HCCR-4 and HCCF-5 offerings were also provided
with an additional purported “bank guarantee”. in the form of a “Standby Line
of Credit (SBLC)” issued to Harbor City from what is described as a “top tier

. bank.” As Maroney explained to one investor, “this cash line of credit is there,
its liquid, it’s available, so that if something happens and we can’t make our
bond payments or we go bankrupt, ... we have a claim on the monies that we’ve
put on deposit with Harbor City via this cash line of credit.”

45. In truth, the UCC filings and the SBLC do not exist. Defendants
never made any UCC lien filings for any loan-related business transactions.
Moreover, at no point were Defendants ever issued aSBLC. Rather, Defendant
Harbor City, through Defendant Maroney, merely entered into an “Agreement
for Service” dated November 2019 with an intermediary who would have been
responsible for arranging the issuance of a SBLC of $5 million in favor of Harbor
City. The transaction never went through and the Agreement for Service was
canceled less than a month later due to Harbor City’s and Maroney’s failure to
pay the required fees to secure the SBLC. Despite knowing this SBLC was never
obtained, Maroney continued to falsely tout its existence in publicly available
videos and directly to investors.

46. The offering documents for the HCCF-5 offering also include a

section discussing HCC Media’s “Track Record” that touted Harbor City’s “four

17
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 18 of 28 PagelD 18

successful bond issues.” This section of the materials represented that “[afll
previous bond issues have generated above average returns for the investors,
and all investor payments have been completed successfully and on time.” —
Defendant Maroney likewise told at least one investor that everyone has been
paid back from the previous offerings. These statements are all false and
misleading. In fact, several investors’ “interest payments” were often delayed
and eventually stopped completely. They contacted Defendant Maroney
numerous times demanding their interest payments and a return of their
principal investment amounts, but to date have not received their money back.
More importantly, the offering materials omitted to disclose to investors that
because the Defendants did not generate any significant revenues or profits
from their businesses, the “interest payments” and other returns Defendants
were paying to investors came from other investor money.

47. Finally, in Defendant HCCF-5’s offering documents, which are
dated July 2020, Defendant Maroney touts himself as a “seasoned business
growth strategist” with more than 30 years of experience “starting, building,
buying, and selling companies in a wide variety of industries.” However, the
same materials failed to disclose to investors and prospective investors that in
June 2020, securities regulators in Alabama issued an administrative cease-and-

desist order against Defendants Maroney, Harbor City, and HC Digital for

18
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 19 of 28 PagelD 19

offering and selling unregistered securities and making misstatements and
omissions to residents in the state. This omission rendered false and misleading

the statements made to investors about Defendant Maroney’s background and

experience.

D. Relief Defendants Received Ill-Gotten Gains

 

48. Relief Defendants Celtic and Tonya Maroney received investor
funds from Harbor City without any legitimate purpose and should be required
to disgorge these funds.

Vv. CLAIMS FOR RELIEF
COUNT I

Unregistered Sales of Securities in Violation of Sections 5(a) and 5(c) of the
Securities Act

49. The Commission repeats and realleges paragraphs 1 through 48 of
its Complaint.

50. No registration statement was filed or in effect with the
Commission pursuant to the Securities Act with respect to the securities and
transactions described in this Complaint and no exemption from registration
existed with respect to these securities and transactions.

51. Starting no later than May 2015 and continuing through the present,
Defendants, directly and indirectly, (a) made use of any means or instruments

of transportation or communication in interstate commerce or of the mails to
19
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 20 of 28 PagelD 20

sell secirities as described herein, through the use or medium of a prospectus
or otherwise: (b) carried or caused such securities, as described herein, to be
carried through the mails or in interstate commerce, by any means or
instruxnents of transportation, for the purpose of sale or delivery after sale; or
(c) made use of any means or instruments of transportation or communication
in interstate commerce or of the mails to offer to sell or offer to buy through the
use or medium of any prospectus or otherwise, as described herein, without a
registration statement having been filed or being in effect with the Commission
as to such securities.

52. By reason of the foregoing, Defendants have violated and, unless
enjoined, are reasonably likely to continue to violate Sections 5({a) and 5(c) of the
Securities Act, 15 U.S.C. §§ 77e(a) and (c).

COUNT II
Fraud in Violation of Section 17(a)(1) of the Securities Act

53. The Commission repeats and realleges paragraphs 1 through 48 of
this Complaint.

54. Starting no later than May 2015 and continuing through the
present, Defendants, in the offer or sale of securities by use of any means or

instruments of transportation or communication in interstate commerce or by

20
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 21 of 28 PagelD 21

use of the mails, directly or indirectly, knowingly or recklessly employed
‘devices, schemes, or artifices to defraud.

55. By reason of the foregoing, Defendants have violated and, unless.
enjoiried, are reasonably likely to continue to violate Section’ 17(a)(1) of the
Securities Act, 15 U.S.C. § 77q(a)(1).

COUNT UI

Fraud in Violation of Section 17(a)(2) of the Securities Act

 

56. The Commission repeats and realleges paragraphs 1 through 48 of
this Complaint.

57. Starting no later than May 2015 and continuing through the
present, Defendants, in the offer or sale of securities by use of any means or
instruments of transportation or communication in interstate commerce or by
use of the mails, directly or indirectly, negligently obtained money or property
by means of untrue statements of material facts and omissions to state material
facts necessary in order to make the statements made, in the light of the
circumstances under which they were made, not misleading.

58. By reason of the foregoing, Defendants have violated and, unless
enjoined, are reasonably likely to continue to violate Section 17(a)(2) of the

Securities Act, 15 U.S.C. § 77q(a)(2).

21
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 22 of 28 PagelD 22

COUNT IV
Fraud in Violation of Section 17(a)(3) of the Sectirities Act

59. The Commission repeats and realleges paragraphs 1 through 48 of
this Complaint. .

60. Starting no later than May 2015 and continuing through the
present, Defendants, in the offer or sale of securities by use of any means or
instruments of transportation or communication in interstate commerce or by
use of the mails, directly or indirectly, negligently engaged in transactions,
practices, or courses of business which operated or would have operated as a
fraud or deceit upon the purchasers.

61. By reason of the foregoing, Defendants have violated, and unless
enjoined, are reasonably likely to continue to violate Section 17(a)(3) of the
Securities Act, 15 U.S.C. § 77q(a)(3).

COUNT V
Fraud in Violation of Section 10(b) and Rule 10b-5(a) of the Exchange Act

62. The Commission repeats and realleges paragraphs 1 through 48 of
this Complaint.

63. Starting no later than May 2015 and continuing through the present,
Defendants, directly and indirectly, by use of any means or instrumentality of

interstate commerce, and of the mails in connection with the purchase or sale of

22
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 23 of 28 PagelD 23

the securities, knowingly or recklessly employed ‘devices, schemes or artifices
to defraud.

64. By reason of the foregoing, Defendants violated and, unless
‘enjoined, are reasonably likely to continue to violate Section 10(by of the
Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-3(a), 17 C.F.R. § 240.10b-5(a).

COUNT VI
Fraud in Violation of Section 10(b) and Rule 10b-5(b) of the Exchange Act

65. |The Commission repeats and realleges paragraphs 1 through 48 of
this Complaint.

66. Starting no later than May 2015 and continuing through the
present, Defendants, directly and indirectly, by use of the means or
instrumentalities of interstate commerce, or of the mails, in connection with the
purchase or sale of any security, knowingly or recklessly made untrue
statements of material facts or omitted to state material facts necessary in order
to make the statements made, in the light of the circumstances under which they
were made, not misleading.

67. By reason of the foregoing, Defendants have violated and, unless
enjoined, are reasonably likely to continue to violate Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(b), 17 C.F.R. § 240.10b-5(b).

23
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 24 of 28 PagelD 24

‘COUNT Vu

Fraud in Violation of Section 10(b) and Rule 10b-5(c) of the Exchange Act

 

68. |The Commission repeats and realleges paragraphs 1 through 48 of
‘this Complaint. oe -

69. Starting no later than May 2015 and continuing through the present,
Defendants, directly or indirectly, by the use of any means or instrumentality of
interstate commerce, or of the mails, knowingly or recklessly engaged in acts,
practices, and courses of business which have operated, are now operating and
will operate as a fraud upon the purchasers of such securities.

70. By reason of the foregoing, Defendants have violated, and unless
enjoined, are reasonably likely to continue to violate Section 10(b) of the
Exchange Act, 15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5(c), 17 C.F.R.
§ 240.10b-5(c).

VI. RELIEF REQUESTED

 

WHEREFORE, the Commission respectfully requests that the Court find
Defendants committed the violations of the federal securities laws alleged

herein and:

24
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 25 of 28 PagelD 25

A.
Temporary Restraining Order and Preliminary Injunctive Relief
Issue a Temporary Restraining Order and a Preliminary Injunction
restraining and enjoining Defendants Harbor City, HC Ventures, the HC SPEs,
HC Digital, HCC Media, and Maroney from violating Sections 3(a), 3(c), and
17(a) of the Securities Act, and Section 10(b) and Rule 10b-5 of the Exchange Act.
B.

Permanent Injunction

 

Issue a Permanent Injunction restraining and enjoining Defendants
Harbor City, HC Ventures, the HC SPEs, HC Digital, HCC Media, and Maroney,
any officers, agents, servants, employees, attorneys, and all persons in active
concert or participation with them, and each of them, from violating the federal

securities laws alleged in this Complaint.

Cc.

Disgorgement
Issue an Order directing all Defendants and all Relief Defendants to
disgorge all ill-gotten gains, including prejudgment interest, resulting from the

acts or courses of conduct alleged in this Complaint.

25
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 26 of 28 PagelD 26

D.
. Civil Penalty
Issue an Order directing the Defendants Harbor City, HC Ventures, the
HC SPEs, HC Digital, HCC Media, and Maroney to pay a civil money penalty -
pursuant to Section 20(d) of the Securities Act, 15 U.S.C. § 77t(d), and Section
21(d) of the Exchange Act, 15 U.S.C. § 78u(d).
E.
Sworn Accounting
Issue an Order directing all Defendants and all Relief Defendants to
provide a sworn accounting of all proceeds received resulting from the acts/or
courses of conduct alleged in this Complaint.
F.
Asset Freeze
Issue an Order freezing the assets of all Defendants and all Relief
Defendants until further Order of the Court.
G.
Records Preservation
Issue an Order restraining and enjoining all Defendants and all Relief

Defendants from, directly or indirectly, destroying, mutilating, concealing,

altering, disposing of, or otherwise rendering illegible in any manner, any of the

26
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 27 of 28 PagelD 27

books, records, documents, correspondence, brochures, manuals, papers,
ledgers, accounts, -statements, obligations, files and other property of or
pertaining to all Defendants and all Relief Defendants, wherever located and in
~ whatever form, electronic or otherwise, that refer, reflect or relate to the acts or
courses of conduct alleged in this Complaint, until further Order of this Court.
H.
Further Relief
Grant such other and further relief as may be necessary and appropriate.
I.
Retention of Jurisdiction
Further, the Commission respectfully requests that the Court retain
jurisdiction over this action and the Defendants and Relief Defendants in order
to implement and carry out the terms of all orders and decrees that it may enter,
or to entertain any suitable application or motion by the Commission for
additional relief within the jurisdiction of this Court.
DEMAND FOR JURY TRIAL

The Commission hereby demands a trial by jury in this case.
April 19, 2021 Respectfully submitted,

By: s/ Alise Johnson
Alise Johnson

27
Case 6:21-cv-00694-CEM-DCI Document1 Filed 04/20/21 Page 28 of 28 PagelD 28

Senior Trial Counsel .
Florida Bar No. 0003270 ~
Direct Dial: (305) 982-6385
E-mail: johnsonali@sec.gov

Attorneys for Plaintiff oo
U.S.° Securities and = Exchange
Commission

801 Brickell Avenue, Suite 1950

Miami, Florida 33131

Telephone: (305) 982-6300

Facsimile: (305) 536-4154

28
